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                                    IN THE UNITED STATES BANUPTCY COURT
                                                FOR THE DISTRICT OF DELAWARE

Inre:                                                                    ) Chapter 11
                                                                         )
W. R. GRACE & CO., et aI.,                          i
                                                                         ) Case No. 01-01139 (JKF)
                                                                         ) (Jointly Administered)
                                                                         )
                                        Debtors.                         )
                                                                         )


            SUMMAY OF TWENTY-EIGHTH QUARTERLY INTERIM VERIFIED
           APPLICATION OF KIRKAND & ELLIS LLP FOR COMPENSATION FOR
            SERVICES AND REIMBURSEMENT OF EXPENSES AS BANKRUPTCY
           COUNSEL TO W. R. GRACE & CO., ET AL., FOR THE INTERIM PERIOD
                  FROM JANUARY 1. 2008 THROUGH MARCH 31. 2008

  Name of Applicant:                                                          Kirkland & Ells LLP
  Authorized to Provide Professional Services to:                             W. R. Grace & Co.. et al.. Debtors and
                                                                              Debtors-in-Possession
  Date of Retention:                                                          Retention Order entered Mav 3. 2001.
                                                                              effective as of Avril 2. 2001
  Period for which compensation and reimbursement is
  sought:                                                                     January 1.2008 throueh March 31. 2008
  Amount of Compensation sought as actual,
  reasonable, and necessary:                                                  $7.263.172.00
  Amount of  Expense Reimbursement sought as
  actual, reasonable and necessar:                                            $4.742.857.17
  This is a: _ monthly ! quarterly application.

I The Debtors consist of
                                     the following 62 entities; W. R. Grace & Co. (f/k/a Grace Specialty Chemicals, Inc.), W. R. Grace &
Co.-Conn., A-I Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon, Inc., CB Biomedical, Inc. (fla
Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc., Coalgrace II, Inc., Creative Food 'N Fun Company, Darex Puerto Rico,
Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC (f/k/a Dewey and Almy Company), Ecarg, Inc., Five Alewife Boston
Ltd., G C Limited Parners I, Inc. (f/k/a Grace Cocoa Limited Parers I, Inc.), G C Management, Inc. (fla Grace Cocoa
Management, Inc.), GEC Management Corporation, GN Holdings, Inc., GPC Thomasvile Corp., Gloucester New Conuunities
Company, Inc., Grace A-B Inc., Grace A-B II Inc., Grace Chemical Company of Cuba, Grace Culinar Systems, Inc., Grace
Driling Company, Grace Energy Corporation, Grace Environmental, Inc., Grace Europe, Inc., Grace H-G Inc., Grace H-G II
Inc., Grace Hotel Services Corporation, Grace International Holdings, Inc. (fla Dearborn International Holdings, Inc.), Grace
Offshore Company, Grace PAR Corporation, Grace Petroleum Libya Incorporated, Grace Taron Investors, Inc., Grace Ventures
Corp., Grace Washington, Inc., W. R. Grace Capital Corporation, W. R. Grace Land Corporation, Gracoal, Inc., Gracoal II, Inc.,
Guanica-Caribe Land Development Corporation, Hanover Square Corporation, Homco International, Inc., Kootenai
Development Company, L B Realty, Inc., Litigation Management, Inc. (f/a GHSC Holding, Inc., Grace NH, Inc., Asbestos
Management, Inc.), Monolith Enterprises, Incorporated, Monroe Street, Inc., MR Holdings Corp. (fla Nestor-BNA Holdings
Corporation), MR Intennedco, Inc. (f/a Nestor-BNA, Inc.), MR Staffng Systems, Inc. (f/a British Nursing Association,
Inc.), Remedium Group, Inc. (fla Environmental Liabilty Management, Inc., E&C Liquidating Corp., Emerson & Cuming,
Inc.), Southem Oil, Resin & Fiberglass, Inc., Water Street Corporation, Axial Basin Ranch Company, CC Parers (fla Cross
Country Staffng), Hayden-Gulch West Coal Company, H-G Coal Company.




WR Grace - 28Ui Quarerly Fee Summary.( 12793480_ i ).DOC
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   Previous fee applications:



May 29, 2001                   4/2 - 4/30/01             $626,079.00     $32,439.84   Interim approva12   Interim approval
June 29, 2001                  5/1 - 5/31/01              $567,151.00    $77,487.86   Interim approval    Interim approval
July 31, 2001                  6/1- 6/30/01               $560,569.50    $45,466.13   Interim approval    Interim approval
July 31, 2001              April- June, 2001            $1,753,799.50   $155,393.83    $1,753,799.50        $155,393.83
August 28, 2001                7/1-7/31/01                $476,582.50    $25,312.13   Interim approvai2   Interim approval
September 28, 2001             8/1 - 8/31/01              $472,334.50    $29,022.59    Interim approval   Interim approval
October 30,2001                9/1 - 9/30/01              $443,617.50    $27,147.47    Interim approval   Interim approval
November 7, 2001       July - September, 2001           $1,392,534.50    $81,482.19     $1,392,534.50        $81,482.19
December 11, 2001            10/1-10/31/01                $493,074.00    $27,724.54   Interim approva12   Interim approval
December 29, 2001            11/1 - 11/30/01              $524,980.00    $29,678.21   Interim approval    Interim approval
Januar 31, 2002              12/1 - 12/31/01              $405,278.50    $27,276.95   Interim approval    Interim approval
Februar 7, 2002      October-December,         2001     $1,423,332.50    $84,679.70    $1,419,127.00         $84,679.70
March 4, 2002                  1/1 - 1/31/02             $439,056.00     $32,279.54   Interim approva13   Interim approval
March 27, 2002                 2/1 - 2/28/02              $412,304.00    $18,475.64   Interim approval    Interim approval
May 2, 2002                    3/1 - 3/31/02              $430,342.50    $51,759.20   Interim approval    Interim approval
June 10, 2002          Januar - March, 2002             $1,281,702.50   $102,514.38    $1,281,702.50        $101,656.38
June 10,2002                   4/1 - 4/30/02             $410,702.50     $25,286.05   Interim approva14   Interim approval
July 2, 2002                   5/1 - 5/31/02             $335,280.50     $25,556.83   Interim approval    Interim approval
August 8, 2002                 6/1 - 6/30/02             $243,127.00     $16,326.36   Interim approval    Interim approval
September 3, 2002          April- June, 2002             $989,110.00     $67,169.24     $981,666.50          $67,169.24
September 11, 2002             7/1-7/31/02               $335,129.00     $28,504.48   Interim approvalS   Interim approval
October 2, 2002            8/1 - 8/31/02                 $344,619.00     $86,047.20    Interim approval   Interim approval
October 30, 2002           9/1 - 9/30-02                 $238,876.50     $20,882.49    Interim approval   Interim approval
November 27, 2002     July - September, 2002             $918,624.50    $135,434.17      $918,624.50        $134,478.90
December 6, 2002          10/1 - 10/31/02                $207,778.00      $7,769.74   Interim approval6   Interim approval
Januar 13, 2003           11/1 - 11/30/02                $122,419.00      $4,732.30    Interim approval   Interim approval
Januar 30, 2003           12/1 - 12/31/02                $129,243.50      $6,093.80    Interim approval   Interim approval
March 4, 2003        October - December, 2002            $459,440.50     $18,595.84      $459,440.50         $18,467.74



   2 The fees and expenses requested in the April-June, 2001, July-September, 2001 and October-December, 2001,
   interim monthly Applications were approved on an interim basis pursuant to the order entered by this Cour on
   November 29, 2002.

   3 The fees and expenses requested in the January-March, 2002, interim monthly Applications were approved on
   an interim basis pursuant to the order entered by this Court on October 9, 2002.

   4 The fees and expenses requested in the April-June, 2002, interim monthly Applications were approved on an
   interim basis pursuant to the order entered by this Court on November 29, 2002.

   5 The fees and expenses requested in the July-September, 2002, interim monthly Applications were approved on
   an interim basis pursuant to the order entered by this Cour on March 14,2003.

   6 The fees and expenses requested in the October-December, 2002, interi monthly Applications were approved

   on an interim basis pursuant to the order entered by this Cour on July 28, 2003.




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March 4, 2003               1/ I - 1/31/03
                                                1-  $162,033.00        $6,383.16
                                                                                            --
                                                                                     Interim approvai7 Interim approval
April 2, 2003               2/1 - 2/28/03           $215,511.50        $3,784.70      Interim approval       Interim approval
April 29, 2003              3/1 - 3/31/03           $146,603.00        $6,713.84      Interim approval       Interim approval
May 15,2003            Januar - March, 2003         $524,147.50       $16,881.70        $524,045.50             $16,881.70
June 3, 2003                4/1 - 4/30/03           $135,130.00        $2,786.42     Interim approvai8       Interim approval
July 11,2003                5/1 - 5/31/03           $109,408.00        $6,546.04      Interim approval       Interim approval
July 31, 2003               6/1 - 6/30/03           $115,099.00        $1,925.86      Interim approval       Interim approval
August 27, 2003          April- June, 2003          $359,637.00       $11,258.32        $357,346.00             $11,183.48
September 5, 2003           7/1 -7/31/03            $197,495.50        $9,235.33     Interim approva19       Interim approval
October I, 2003             8/1 - 8/31/03           $178,910.50        $7,009.66      Interim approval       Interim approval
November 6, 2003            9/1 - 9/30/03           $157,200.00        $3,817.57      Interim approval       Interim approval
November 18,2003       July - September, 2003       $533,606.00       $20,062.56        $533,606.00             $20,062.56
November 26, 2003          10/1-10/31/03            $251,093.50        $7,115.96     Interim approvailO      Interim approval
December 29, 2003          11/1 - 11/30/03          $187,914.00        $4,969.88      Interim approval       Interim approval
Februar 2, 2004           12/1 - 12/31/03           $317,880.00        $8,631.60      Interim approval       Interim approval
Februar 25, 2004     October - December, 2003       $756,887.50       $20,717.44        $756,838.00             $20,717.44
March 5, 2004               1/1 -1/31/04            $524,446.00       $32,428.07     Interim approval
                                                                                                        11   Interim approval
April 2, 2004               2/1- 2/29/04            $274,589.50       $10,852.51      Interim approval       Interim approval
May 3, 2004                 3/1 - 3/31/04           $337,945.00       $13,159.10      Interim approval       Interim approval
May 17,2004            Januar - March, 2004       $1,136,980.50       $56,439.68       $1,134,755.00            $56,439.68
June 1,2004                4/1 - 4/30/04            $280,547.50       $10,895.93     Interim approval12      Interim approval
July 1,2004                5/1 - 5/31/04           $213,906.00         $9,502.49      Interim approval       Interim approval
September 2, 2004          6/1 - 6/30/04           $430,246.50        $15,235.72      Interim approval       Interim approval
October 6, 2004          April- June, 2004         $924,700.00        $35,634.14        $918,960.50             $35,557.55




   7 The fees and expenses requested in the January-March, 2003, interim monthly Applications were approved on
   an interim basis pursuant to the order entered by this Court on September 22, 2003.

   8 The fees and expenses requested in the April-June, 2003, interim monthly Applications were approved on an
   interim basis pursuant to the order entered by this Court on December 15,2003.

   9 The fees and expenses requested in the July-September, 2003, interim monthly Applications were approved on
   an interim basis pursuant to the order entered by this Cour on April 26, 2004.

   10 The fees and expenses requested in the October-December, 2003, interi monthly Applications were approved
   on an interim basis pursuant to the order entered by this Cour on June 16,2004.

   11 The fees and expenses requested in the Januar-March, 2004, interim monthly Applications were approved on
   an interim basis pursuant to the order entered by this Cour on September 27,2004.

   12 The fees and expenses requested in the April-June, 2004, interim monthly Applications were approved on an
   interim basis pursuant to the order entered by this Cour on Januar 25,2005.




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September 17,2004          7/1 -7/31/04            $599,563.50       $27,869.76      Interim approval13     Interim approval
October 7,2004             811 - 8/31104            $793,285.00      $45,729.42        Interim approval     Interim approval
November 3, 2004           9/1 - 9/30/04            $913,771.00      $32,811.9         Interim approval     Interim approval
November 17,2004      July - September, 2004      $2,306,619.50     $106,410.37         $2,298,879.00         $105,176.56
December 7,2004           lOll - 10/31/04           $842,268.50      $38,703.13      Interim approval 14    Interim approval
Januar 7, 2004            1111 - 11130/04           $581,027.00      $35,469.12        Interim approval     Interim approval
Februar 1, 2005           1211 - 12/31104           $863,104.50      $38,461. 7        Interim approval     Interim approval
Februar 14, 2005     October - December, 2004     $2,286,400.00     $112,633.42         $2,279,008.50         $110,200.64
March 18, 2005             111 - 1131105          $1,214,802.50      $65,721. 7      Interim approvai15     Interim approval
April 15, 2005             2/1 - 2/28/05            $717,562.00      $46,304.21       Interim approval      Interim approval
May 19,2005                3/1 - 3/31105           $916,504.00       $50,822.73        Interim approval     Interim approval
June 15,2005          Januar - March, 2005        $2,848,868.50     $162,848.11         $2,833,566.00         $162,482.21
June 7, 2005               411 - 4/30/05           $862,337.00       $32,392.41      Interim approval i 6   Interim approval
June 29, 2005              5/1 - 5/31105            $852,424.50      $52,685.55        Interim approval     Interim approval
August 5, 2005             6/1 - 6/30/05          $1,181,036.00      $58,504.79        Interim approval     Interim approval
August 8, 2005           April - June, 2005       $2,895,797.50     $143,582.75         $2,894,660.00         $143,530.87
September 9, 2005          7/1-7/31105            $1,740,148.50     $155,036.60      Interim approva117     Interim approval
September 28, 3005         8/1 - 8/31105         $1,451,595.50       $95,151.93       Interim approval      Interim approval
October 28, 2005           9/1 -9/30/05          $1,471,412.50      $128,814.69       Interim approval      Interim approval
October 28, 2005      July - September, 2005     $4,663,156.50      $379,003.22        $4,655,239.50          $378,588.48
November 29, 2005        10/1105 - 10/31/05      $1,602,349.50      $111,318.89      Interim approvai18     Interim approval
December 29, 2005       1111105 - 11130/05       $1,743,406.00      $182,798.39       Interim approval      Interim approval
Januar 28, 2006          12/1105 - 12/31105      $1,638,659.50      $161,888.24       Interim approval      Interim approval
Februar 14,2006      October - December, 2005    $4,984,415.00      $456,005.52        $4,978,349.00          $453,367.08
Februar 28, 2006                                 $1,667,688.00      $176,100.89
                          111106 - 1/31106                                           Interim approvai19     Interim approval

   13  The fees and expenses requested in the July-September, 2004, interim monthly Applications were approved on
  an interim basis pursuant to the order entered by this Court on March 22, 2005.

  14 The fees and expenses requested in the October-December, 2004, interim monthly Applications were approved

  on an interi basis pursuant to the order entered by this Court on June 29,2005.

  15 The fees and expenses requested in the January-March, 2005, interim monthly Applications were approved on
  an interim basis pursuant to the order entered by this Cour on September 26,2005.

  16 The fees and expenses requested in the April 1,2005 though June 30, 2005, interim monthly Applications were
  approved on an interim basis pursuant to the order entered by this Court on December 19,2005.

  17 The fees and expenses requested in the July-September, 2005 interim rnonthly Applications were approved on
  an interim basis pursuant to the order entered by this Court on March 27, 2006.

  18 The fees and expenses requested in the October-December, 2005 interim monthly Applications were approved
  on an interim basis pursuant to the order entered by this Court on June 16,2006.

  19 The fees and expenses requested in the Januar-March, 2006, interim monthly Applications were approved on
  an interim basis pursuant to the order entered by this Court on September 25,2006.



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March 28, 2006                  2/1/06 - 2/28/06        $1,669,067.50 $395,113.02 Interim approval Interim approval
April 28, 2006                  3/1/06 - 3/31/06        $1,615,330.00      $685,462.58     Interim approval    Interim approval
May 15,2006                  Januar - March, 2006       $4,952,085.50    $1,256,676.49      $4,942,401.0        $1,256,429.49
May 30, 2006                    4/1/06 - 4/30/06        $1,628,876.50      $814,117.99    Interim approvai2O   Interim approval
June 28, 2006                   5/1/06 - 5/31/06        $1,800,762.00      $311,657.73     Interim approval    Interim approval
July 28, 2006                   6/1/06 - 6/30/06        $1,666,537.00      $207,374.07     Interim approval    Interim approval
August 14, 2006                April - June, 2006       $5,096,175.75    $1,333,149.79      $5,096,175.50       $1,331,919.73
August 28, 2006                 7/1/06 - 7/31/06        $2,026,266.00      $155,509.57    Interim approvai21   Interim approval
September 28, 2006              8/1/06- 8/31/06         $2,458,300.00      $377,534.56     Interim approval    Interim approval
October 30, 2006                9/1/06 - 9/30/06        $1,508,315.00      $454,899.58     Interim approval    Interim approval
November 14,2006            July - September, 2006      $5,992,881.00      $987,943.71      $5,984,268.75        $986,255.71
November 28, 2006              10/1/06 - 10/3 1/06      $1,732,139.00      $698,068.49    Interim approvai22   Interim approval
December 28, 2006              11/1/06 - 11/30/06       $1,846,984.50      $860,948.29     Interim approval    Interim approval
Januar 29, 3006                12/1/06 - 12/31/06       $1,577,574.50    $1,171,910.97     Interim approval    Interim approval
Februar 14,2007            October - December, 2006     $5,156,698.00    $2,730,927.75      $5,155,238.00       $2,730,927.75
Februar 28, 2007                1/1/07 - 1/31/07        $1,653,083.50      $505,470.24    Interim approvai23   Interim approval
March 28, 2007                  2/1/07 - 2/28/07        $1,855,844.00      $793,394.48     Interim approval    Interim approval
April     30, 2007              3/1/07 - 3/3107         $2,043,431.50      $614,588.91     Interim approval    Interim approval
May 15,2007                  Januar - March, 2007       $5,552,359,00    $1,913,453.63      $5,547,606.50       $1,913,453.63
May 29, 2007                    4/1/07 - 4/30/07        $1,617,793.00    $1,471,980.14    Interim approvai24   Interim approval
June 28, 2007                  5/1/07 - 5/31/07         $1,886,409.50    $1,580,009.04     Interim approval    Interim approval
July 30, 2007                  6/1/07 - 6/30/07         $2,301,815.00    $2,237,07231      Interim approval    Interim approval
August 14, 2007               April - June, 2007        $5,552,359.00    $1,913,453.63      $5,801,255.00       $5,289,061.49
August 28, 2007                 7/1/07 - 7/31/07        $2,031,978.00    $3,054,735.85    Interim approvai25   Interim approval
September 28, 2007              8/1/07 8/31/07          $2,141,450.50    $1,524,583.81     Interim approval    Interim approval
October 29, 2007               9/1/07 - 9/30/07         $1,851,837.50    $2,068,988.69     Interim approval    Interim approval
November 14,2007            July - September 2007       $6,025,266.00    $6,648,308.35      $6,009,675.50       $6,648,308.35
November 28, 2007             10/1/07 - 10/31/07        $2,819,249.00    $1,902,419.07      $2,255,399.20       $1,902,419.07

        20 The fees and expenses requested in the April-June, 2006, interim monthly Applications were approved on an
        interim basis pursuant to the order entered by this Court on December 18, 2006.

        21 The fees and expenses requested in the July-September, 2006, interim monthly Applications were approved on
        an interim basis pursuant to the amended order entered by ths Court on May 3, 2007.

        22 The fees and expenses requested in October-December, 2006, interim monthly Applications were approved on
        an interim basis pursuant to the order entered by this Court on June 20, 2007.

    23 The fees and expenses requested in Januar-March, 2007, interim monthly Applications were approved on an
        interim basis pursuant to the order entered by this Cour on September 24,2007.

    24 The fees and expenses requested in April-June, 2007, interim monthly Applications were approved on an
    interim basis pursuant to the order entered by this Court on December 13, 2007.

    25 The fees and expenses requested in July-September, 2007, interim monthly Applications were approved on an
    interim basis pursuant to the order entered by this Court on March 12, 2008.




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December 28, 2007               111/07 - 11/30/07                   $2,218,978.50   $1,307,904.30         $1,775,182.80     $1,307,904.30
Januar 28, 2008                 12/1/07 - 12/31/07                  $2,145,512.00     $861,447.64         $1,716,409.60      $861,447.64
Februar 14,2008              October - December 2007                $7,183,739.50   $4,071,771.01            Pending           Pending
Februar 28, 2008                  1/1/08- 1/31/08                   $2,982,614.00   $1,437,331.45         $2,386,091.0        $1,437,331.45
March 28, 2008                   2/1/08 - 2/29/08                   $1,556,573.00   $1,323,655.09         $1,245,258.40       $1,323,655.09
April 28, 2008                   3/1/08 - 3/31/08                   $2,723,985.00   $1,981,870.63         $2,179,188.00       $1,981,870.63

                            K&E has fied certificates of no objection with the Cour with respect to the

   Monthly Fee Applications for Januar and Februar 2008, because no objections were filed with

   the Cour within the objection period. As of the fiing of this Quarterly Application, the


   objection deadline for the March 2008 Monthly Fee Application has not yet expired. The

   hearing for the Quarerly Application for the interim period October 1, 2007 through

   December 31, 2007, has been scheduled for June 23, 2008. The hearing for the interim period

   Januar 1,2008 through March 31, 2008 has been scheduled for September 29,2008.

                            The K&E attorneys who rendered professional services in these cases during the

   Fee Period are:26


                                      Positon with            the                               Hourly           Tota.l
 Name of     Professional
                                    AppIicantand Year                        Department                                        Total
           Person                                                                               Biling          Biled
               . ..... ..                                                                                                  Cønipensation
                                         AdÌIiittèd.                                                 Rat~ ..    Hours
F. Wade Ackerman                  Associate     2004                          Litigation            $435.00        24.60       $10,701.00
Ellen T. Ahem                     Parer              1992                     Litigation            $570.00       651.40      $371,298.00
Janet S. Baer                     Parter             1982                    Restrctuin!!           $795.00       574.80      $456,966.00
Amanda C. Basta                   Associate          2002                     Litigation            $500.00       675.50      $337,750.00
David M. Bemick, P.C.             Parer              1978                     Litigation            $915.00       434.20      $397,293.00
Salvatore F. Bianca               Associate          2003                     Litigation            $485.00       109.20       $52,962.00
                                                     (Grad.     2001)         Litigation            $520.00       462.30      $240,396.00
Samuel Blatnick                   Associate          2003                     Litigation            $475.00       101.80       $48,355.00
Deana D. Boll                     Parer              1998                    Restrctuing            $625.00       378.90      $236,812.50
Holly Bull                        Of Counsel         1997                   Restrcturing            $490.00        60.10       $29,449.00
Christopher C. Chiou              Associate          2004                     Litigation            $435.00         0.20           $87.00
Jeanne T. Cohn-Connor             Parter             1985                    Environment            $625.00        17.80       $11,125.00
Michael Dierkes                   Associate          2001                     Litigation            $520.00        47.70       $24,804.00
John Donley                       Parter             1985                     Litigation            $725.00        23.80       $17,255.00

  26 Any capitalized terms not defined herein have the meaning ascribed to them in the Twenty-Eighth Quarerly
  Interim Verified Application of Kirkland & Ells LLP for Compensation for Services and Reimbursement of
  Expenses as Banptcy Counsel to W. R. Grace & Co., et aL, for Januar 1,2008 through March 31, 2008.




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                              Position with the                       Hourly      Total
 Name of    Professional
                             Applicant and Year     Department        BiIlng                    Total
           Person                                                                 Biled
                                 Admitted                              Rate                  Compensation
                                                                                  Hours
Timothy A. Duff            Parter       1994           Litigation      $625.00       45.00       $28,125.00
Laura M. Duritv            Associate    2007           Litigation      $295.00      298.10       $87,939.50
Carer W. Emerson, P.C.     Of Counsel   1972           Corporate       $925.00        1.0         $1,202.50
Lisa G. Esayian            Parer        1991           Litigation      $675.00      114.10       $77,017.50
Peter A. FarreIl           Associate    2006           Litigation      $350.00       61.40       $21,490.00
Theodore L. Freedman       Parer        1973       Restrcturing        $850.00      463.40      $393,890.00
Andrea L. Frost            Associate    2004       Restrctuing         $490.00       52.50       $25,725.00
James Golden               Associate    2005           Litigation      $395.00       15.90        $6,280.50
Samuel M. Gross            Associate    2006       Restrctuing         $390.00        4.10        $1,599.00
Barbara M. Harding         Parer        1988           Litigation      $550.00       71.0        $39,105.00
                                                                       $585.00     578.30       $338,305.50
Jason P. Hernandez         Associate    2005           Litigation      $395.00       4.50         $1,777.50
Raina A. Jones             Associate    2006           Litigation      $350.00     600.40       $210,140.00
Alex L. Karan              Parter       2000           Litigation      $540.00      91.80        $49,572.00
Ritu Kelotra               Associate    Pending        Litigation      $295.00     313.70        $92,54 I .50
Patrick J. King            Associate    2007           Litigation      $295.00     326.20       $96,229.00
Walter R. Lancaster        Parer        1987           Litigation      $710.00     203.20      $144,272.00
Christooher Landau, P.C.   Parter       1990           Litigation      $835.00      69.50       $58,032.50
EII Leibenstein            Parer        1992           Litigation      $635.00     405.20      $257,302.00
Tyler D. Mace              Associate    2003           Litigation      $475.00     370.40      $175,940.00
Todd F. Maynes, P.C.       Parter       1988           Taxation        $915.00       3.30        $3,019.50
Scott A. McMilin           Parer        1996           Litigation      $550.00        1.60         $880.00
                                                                       $580.00     561.0       $325,438.00
David E. Mendelson         Parter       1997           Litigation      $560.00     236.50      $132,440.00
Joy L. Monahan             Associate    1997       Restrcturing        $440.00      183.30      $80,652.00
Mattew E. Nirider          Associate    2006        Litigation         $350.00       49.20      $17,220.00
Jeffrey Pawlitz            Associate    2007       Restrctuing         $335.00        0.80         $268.00
Amanda Raad                Associate    2005        Litigation         $395.00       30.50      $12,047.50
Lee Rudofsky               Associate    2006        Litigation         $395.00       30.40      $12,008.00
Andrew R. Running          Parter       1982        Litigation         $695.00       98.80      $68,666.00
Pratibha 1. Shenoy         Of Counsel   2001        Taxation           $540.00        0.50         $270.00
Michael D. Shumsky         Associate    2004        Litigation         $475.00        3.50       $1,662.50
Lori Sinanyan              Parter       2000       Restrcturing        $605.00      136.20      $82,401.00
Gregorv L. Skidmore        Associate    2006        Litigation         $395.00       64.80      $25,596.00
Brian T. Stansbury         Associate    2002        Litigation         $500.00      574.80     $287,400.00
Henr A. Thompson, II       Associate    2006        Litigation         $350.00      556.00     $194,600.00
Tamrv A. Tsoumas           Associate    2007        Litigation         $350.00       16.80       $5,880.00
Laurence A. Urgenson       Parter       1976        Litigation         $835.00       83.50      $69,722.50
L. Mark Wine, P.C.         Of Counsel   1970       Environment         $775.00       16.70      $12,942.50
Peter 1. Wozniak           Associate    Pending     Litigation         $295.00       62.70      $ 18,496.50
Evan C. Zoldan             Associate    2004        Litigation         $475.00        3.00        $1,425.00
Totals for Attorneys                                                             10,366.40    $5,694,774.50




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                      The paraprofessionals of K&E who rendered professional services in these cases

   durng the Fee Period are:

      Namèof              Position       with the    Applicant and                           Hourly     Total
  Paraprofessional                                                                                                   Total
                                     Number of      Years    as a            Department      Biling     Biled
      PerSon                            Paraptofessipnal                                                          Compensation
                                                                                              Rate      Hours
Ami! Albrecht            Technology Services                5 Years           Litigation     $170.00      4.50          $765.00
Deborah L. Bibbs         Legal Assistant                    2 Years         Restrcturing     $195.00    393.90       $76,810.50
Nina Boras               Project Assistant                  1 Year            Litigation     $145.00     25.50        $3,697.50
Derek J. Bremer          Technology Services                4 Years           Litigation     $205.00    397.60       $81,508.00
Kathleen E. Cawley       Legal Assistant                    15 Years          Litigation     $250.00      4.50        $1,125.00
Andrew Erskine           Project Assistant                  9 Months          Litigation     $155.00    703.00      $108,965.00
Judith Everett           Legal Assistant                    30 Years          Litigation     $230.00      6.00        $1,380.00
Timothy J.
                         Legal Assistant                    i Year            Litigation     $230.00    588.50      $135,355.00
Fitzsimmons
Stephanie D. Frye        Conflcts Analyst II                                Administrative
                                                            3 Years                          $195.00     30.80        $6,006.00
                                                                               Services
Maria D. Gaytan          Case Assistant                     6 Years           Litigation     $140.00     47.70        $6,678.00
Marvin R. Gibbons, Jr.   Technology Services                21 Years          Litigation     $220.00     38.80        $8,536.00
Britton R. Giroux        Case Assistant                     2 Years           Litigation     $145.00    614.00       $89,030.00
Timothy Greene           Project Assistant                  8 Months          Litigation     $145.00    716.90      $103,950.50
Alun Harris-John         Technology Services                1 Year            Litigation     $205.00    404.90       $83,004.50
Christopher Healey       Law Clerk                          9 Months        Restrcturing     $205.00      7.00        $1,435.00
David Helstowski         Project Assistant                  1 Year          Restrctuing      $150.00      7.20        $1,080.00
Claude W. Irmis          Legal Assistant                    10 Years        Restrcturing     $255.00      10.10       $2,575.50
Ayesha Johnson           Case Assistant                     8 Months          Litigation     $145.00    636.40       $92,278.00
Travis J. Langenkamp     Legal Assistant                    11 Years          Litigation     $250.00    657.00      $164,250.00
Kimberly K. Love         Legal Assistant                    20 Years          Litigation     $240.00    158.00       $37,920.00
EmiIv Mallov             Project Assistant                  i Year            Litigation     $145.00    205.90       $29,855.50
Maureen McCarthy         Legal Assistant                    5 Years         Restructuing     $225.00     61.0        $13,747.50
Katie McCrone            Project Assistant                  1 Month         Restrctuing      $150.00     42.70        $6,405.00
P. Ryan Messier          Case Assistant                     6 Months          Litigation     $145.00    637.80       $92,481.00
Robert E. Moore          Technology Services                2 Years           Litigation     $205.00      6.50        $1,332.50
Susan J. Perr            Legal Assistant                    19 Years        Restrctuing      $270.00      3.80        $1,026.00
Bianca Portilo           Project Assistant                  i Year          Restrcturing     $150.00    199.80       $29,970.00
Daniel T. Rooney         Legal Assistant                    13 Years          Litigation     $230.00    690.40      $158,792.00
Michael A. Rosenberg     Legal Assistant                    2 Years           Litigation     $205.00     28.60        $5,863.00
Andrew J. Ross           Case Assistant                     10 Months         Litigation     $145.00    756.90      $109,750.50
Aaron Rutell             Technology Services                8 Months          Litigation     $165.00    225.50       $37,207.50
                         Restrcturing                                       Administrative
Linda A. Scussel                                            3 Years                          $220.00     13.30        $2,926.00
                         Conflcts Specialist                                   Services
James J. Son             Legal Assistant                    i Year            Litigation     $190.00     18.50        $3,515.00
Terrell D. Stasbury      Legal Assistant                    3 Years           Litigation     $195.00    217.20       $42,354.00
Rafael M. Suarez         Technology Services                2 Years           Litigation     $190.00       1.50         $285.00
                                                                                             $195.00     48.00        $9,360.00




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      Name of            Position with the Applicant and                           Hourly     Total
  Paraprofessional             Number of   Years    as   a         Department      Biling    Biled          Total
      Person                      Paraprofessional                                  Rate                 Compensation
                                                                                             Hours
Lorena G. Toro          Case Assistant             I 1 Months     Restrctuing      $130.00      6.50            $845.00
Stacie D. Torres        Law Clerk                  8 Months         Litigation     $205.00     10.00          $2,050.00
Michael West            Case Assistant             14 Years        Real Estate     $155.00     39.50          $6,122.50
Ian Whalen              Case Assistant             I Year           Litigation     $150.00     10.80          $1,620.00
                                                                  Administrative
Librar Research        Research Specialist         N/A                             $200.00     32.70          $6,540.00
                                                                    Services
Totals for Paraprofessionals                                                                 8,709.30     $1,568,397.50

                                                                   Grand Total for Fees:              $7,263,172.00
                                                                   Blended Rate:                      $380.76




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                                   Comvensation by Matter


Matter                                                                  Total
                              Matter Description                        Biled       TotalFees
Nuinber                                                                             Requested
                                                                        Hours
    17      Relief from Stay                                               10.10       $8,029.50
    19      Claims Analysis Objection and Resolution (Non-Asbestos)        65.50      $32,890.50
   20       Case Administration                                           579.20     $148,123.50
   21       Claims Analysis Objection and Resolution (Asbestos)         14216.20   $5,247,584.00
   23       Business Operations                                            88.60      $48,519.00
   28      Litigation and Litigation Consulting                           590.50     $275,841.00
   30      Hearings                                                      1294.40     $468,911.50
   31      Asset Disposition                                               12.60       $7,966.00
   32      Fee Applications, Applicant                                    168.70      $74,693.00
   35      Fee Applications Others                                         26.70       $7,491.50
   37      Plan and Disclosure Statement                                  120.10      $70,616.50
   38      Employment Applications, Others                                 31.80      $16,370.00
   41      Tax Issues                                                       3.10       $1,881.00
   42      Travel non-working                                             221.00     $105,645.50
   46      Tax Litigation                                                   3.30       $3,019.50
   54      Employment Applications, Applicant                              12.90       $4,762.00
   57      Montana Grand Jury Investigation                              1623.80     $737,696.00
   58       Criminal Travel Matter, No Third Paries                         7.20       $3,132.00
Total for Matters                                                      19,075.70   $7,263,172.00




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                                   EXPENSE SUMARY
Service Description                                                         Amount
Airare                                                                    $8 I ,296.57
Appearance Fees                                                              $190.00
Bates Labels/Print & Affx                                                      $0.10
Binding                                                                      $104.30
Calendar/Court Services                                                      $200.00
Car Rental                                                                   $963.47
CD-ROM Duplicates                                                            $784.00
CD-ROM Master                                                                 $20.00
Color Copies or Prints                                                     $7,723.50
Computer Database Research                                                $55,359.71
Cour Reporter Fee/Deposition                                              $90,771.86
Expert Fees                                                               $35,768.49
Fax Charge                                                                    $15.00
Filing Fees                                                                  $757.00
Foreign Local Counsel                                                      $4,489.18
Information Broker Doc/Svcs                                                $8,561.8
Investigators                                                               $392.20
Librar Document Procurement                                               $2,611.95
Local Transportation                                                      $5,049.77
MisceIlaneous Offce Expenses                                             $17,618.31
Other Travel Expenses                                                     $5,560.57
Other Trial Expenses                                                     $28,613.64
Outside Computer Services                                                $60,940.41
Outside Copy/Binding Services                                           $129,814.64
Outside Messenger Services                                                $1,943.82
Outside Video Services                                                    $9,688.30
Overnight Delivery                                                       $34,194.13
Overtime Meals                                                            $1,163.77
Overtime Meals - Attorney                                                 $1,842.04
Overtime Meals - Legal Assistant                                             $418.1 I
Overtime Transportation                                                    $5,352.05
Postage                                                                       $65.61
Professional Fees                                                      $3,587,682.16
Rental Expenses                                                         $237,325.41
Scaned Images                                                              $4,364.10
Secretarial Overtime                                                      $27,575.05
Standard Copies or Prints                                                 $22,734.15
TabsJIdexes/Dividers                                                         $183.00
Telephone                                                                  $4,601.66
Transporttion to/from airort                                              $16,883.78
Travel Expense                                                          $107,982.22
Travel Meals                                                              $62,510.83
Trial Office Expenses                                                     $68,316.19
U.S. Local Counsel Meals                                                    $8 11.45
Witness Fees                                                              $2,129.17
Word Processing Overtime                                                    $206.82
Working Meals/K&E and Others                                              $7,001.09
Working Meals/K&E Only                                                      $276.01
Total for EXDenses                                                    $4,742,857.17



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                          IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF DELAWAR
 In re:                                                        ) Chapter 11
                                                               )
 W. R. GRACE & CO., et aI., i                                  ) Case No. 01-01139 (lK)
                                                               ) (Jointly Administered)
                                                               )
                             Debtors.                          )
                                                               )


          TWENTY-EIGHTH QUARTERLY INTERIM VERIFIED APPLICATION OF
           KIRKAND & ELLIS LLP FOR COMPENSATION FOR SERVICES AND
             REIMBURSEMENT OF EXPENSES AS BANUPTCY COUNSEL
              TO W. R. GRACE & CO., ET AL., FOR THE INTERIM PERIOD
                 FROM JANUARY 1.2008 THROUGH MARCH 31. 2008

                   Pursuant to sections 327, 330 and 331 of title 11 of the United States Code (as

amended, the "Banptcy Code"), Fed. R. Ban. P. 2016, the Retention Order (as defined
below), the Administrative Order Under 11 U.S.C. §§ 10S(a) and 331 Establishing Procedures

for Interi Compensation and Reimbursement of Professionals and Official Committee

Members (the "Interim Compensation Order"), the Amended Administrative Order under

11 U.S.C. §§ lOS(a) and 331 Establishing Revised Procedures for Interim Compensation and


I The Debtors consist ofthe folIowing 62 entities: W. R. Grace & Co. (f1k/a Grace Specialty Chemicals, Inc.), W. R. Grace &

Co.-Conn., A-I Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon, Inc., CB Biomedical, Inc. (fla
Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc., Coalgrace II, Inc., Creative Food 'N Fun Company, Darex Puerto Rico,
Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC (fla Dewey and Almy Company), Ecarg, Inc., Five Alewife Boston
Ltd., G C Limited Parners I, Inc. (f/a Grace Cocoa Limited Parners I, Inc.), G C Management, Inc. (fla Grace Cocoa
Management, Inc.), GEC Management Corporation, GN Holdings, Inc., GPC Thomasvile Corp., Gloucester New Communities
Company, Inc., Grace A-B Inc., Grace A-B II Inc., Grace Chemical Company of Cuba, Grace Culinar Systems, Inc., Grace
Driling Company, Grace Energy Corporation, Grace Environmental, Inc., Grace Europe, Inc., Grace H-G Inc., Grace H-G II
Inc., Grace Hotel Services Corporation, Grace Intemational Holdings, Inc. (f1k/a Dearborn Intemational Holdings, Inc.), Grace
Offshore Company, Grace PAR Corporation, Grace Petroleum Libya Incorporated, Grace Taron Investors, Inc., Grace Ventures
Corp., Grace Washington, Inc., W. R. Grace Capital Corporation, W. R. Grace Land Corporation, Gracoal, Inc., Gracoal II, Inc.,
Guanica-Caribe Land Development Corporation, Hanover Square Corporation, Homco Intemational, Inc., Kootenai
Development Company, L B Realty, Inc., Litigation Management, Inc. (fla GHSC Holding, Inc., Grace JV, Inc., Asbestos
Management, Inc.), Monolith Enterprises, Incorporated, Monroe Street, Inc., MR Holdings Corp. (f1k/a Nestor-BNA Holdings
Corporation), MR Intermedco, Inc. (f/ka Nestor-BNA, Inc.), MR Staffng Systems, Inc. (fla British Nursing Association,
Inc.), Remedium Group, Inc. (fla Environmenta Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming,
Inc.), Southern Oil, Resin & Fiberglass, Inc., Water Street Corporation, Axial Basin Ranch Company, CC Parners (f/ka Cross
Country Staffng), Hayden-Gulch West Coal Company, H-G Coal Company.




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Reimbursement of               Expenses for Professionals and Offcial Committee Members (the "Amended

Interim Compensation Order") and De1.Bank.LR 2016-2, the law firm of                            Kirkland & Ells LLP

("Kirkland & Ells" or "K&E"), banptcy counsel for the above-captioned debtors and
debtors-in-possession (collectively, the "Debtors") in their chapter 11 cases, hereby applies for

an order allowing it (i) compensation in the amount of $7,263,172.00 for the reasonable and

necessary legal services K&E has rendered to the Debtors and (ii) reimbursement for the actual

and necessar expenses that K&E has incured in the amount of $4,742,857.17 (the "Twenty-

Eighth Quarterly Fee Application"), in each case for the interim quarerly period from

January 1,2008, through March 31, 2008 (the "Fee Period"). In support of                          this Twenty-Eighth

Quarerly Fee Application, K&E respectfully states as follows:

                                                           BACKGROUND
Retention of Kirkland & Ells
                      1. On April 2, 2001 (the "Petition Date"), the Debtors each fied voluntary

petitions for relief under chapter 11 of the Bankptcy Code (collectively, the "Chapter 11

Cases"). On April              2, 2001, the Cour entered an order procedurally consolidating the Chapter 11


Cases for administrative puroses only. Since the Petition Date, the Debtors have continued to


operate their businesses and manage their properties as debtors-in-possession pursuant to

sections 1107(a) and 1108 of                the Banptcy Code.
                      2. By this Cour's order dated May 3, 2001, the Debtors were authorized to


retain K&E as their counsel, effective as of the Petition Date, with regard to the filing and

prosecution of the Chapter 11 Cases and all related matters (the "Retention Order"). The

Retention Order authorizes the Debtors to compensate K&E at K&E's hourly rates charged for

services of this type and to be reimbursed for actual and necessar out-of-pocket expenses that it



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incured, subject to application to this Court in accordance with the Banptcy Code, the

Federal Rules of           Banptcy Procedure, all applicable local rules and orders of                  this Court.

Monthlv Interim Fee Avvlications Covered Herein

                         3. Pursuant to the procedures set forth in the Interim Compensation Order, as


amended by the Amended Interim Compensation Order, professionals may apply for monthly

compensation and reimbursement (each such application, a "Monthy Fee Application"), and the

notice paries listed in the Amended Interim Compensation Order may object to such request. If

no notice pary objects to a professional's Monthly Fee Application within twenty (20) days after

the date of service of           the Monthly Fee Application, the applicable professional may submit to the

Cour a certification of no objection whereupon the Debtors are authorized to pay interim

compensation and reimbursement of 80% of the fees and 100% of the expenses requested.

                         4. Furhermore, and also pursuant to the Amended Interim Compensation

Order, within 45 days of the end of each quarer, professionals are to file and serve upon the

notice paries a quarerly request (a "Quarterly Fee Application") for interim Cour approval and

allowance of the Monthly Fee Applications fied during the quarer covered by that Quarterly

Fee Application. If the Cour grants the relief requested by the Quarerly Fee Application, the

Debtors are authorized and directed to pay the professional 100% of the fees and expenses

requested in the MontWy Fee Applications covered by that Quarerly Fee Application less any

amounts previously paid in connection with the Monthy Fee Applications. Any payment made

pursuant to the MontWy Fee Applications or a Quarerly Fee Application is subject to final

approval of all fees and expenses at a hearing on the professional's final fee application.

                         5. This Quarerly Fee Application, which is submitted in accordance with the


Amended Interim Compensation Order, is the Twenty-Eighth Fee Application for compensation



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for services rendered that K&E has filed with the Banptcy Cour in connection with the

Chapter 11 Cases, and covers the Fee Period of January 1,2008, through March 31, 2008.

                6. K&E has filed the following Monthly Fee Applications for interim
compensation durng this Fee Period:

                a. Sunar Application of Kirkland & Ells LLP for Compensation for
                      Services and Reimbursement of Expenses as Banptcy Counsel to W.R.
                      Grace & Co., et aI., for the Monthy Interim Period from Januar 1, 2008,
                      through January 31, 2008, fied February 28,2008, (the "January Fee
                      Application") attached hereto as Exhbit A;

                b. Sunar Application of Kirkland & Ells LLP for Compensation for
                      Services and Reimbursement of Expenses as Banptcy Counsel to W.R.
                      Grace & Co., et aI., for the Monthly Interim Period from February 1,2008,
                      through February 29, 2008, filed March 28, 2008, (the "February Fee
                      Application") attached hereto as Exhbit B; and

                c. Summar Application of Kirkland & Ells LLP for Compensation for
                      Services and Reimbursement of Expenses as Banptcy Counsel to W.R.
                      Grace & Co., et aI., for the Monthly Interim Period from March 1,2008,
                      through March 31, 2008, fied April 28, 2008, (the "March Fee
                      Application") (collectively, the January Fee Application, the February Fee
                      Application and the March Fee Application are the "Applications")
                      attached hereto as Exhibit C.

                7. The periods for objecting to the fees and expense reimbursement requested


in the January and February Fee Applications passed without any objections being fied,

whereupon the Debtors fied certificates of no objection with the Cour and have either paid or

wil pay interim compensation and reimbursement of 80% of the fees and 100% of the expenses

requested. The deadline for objecting to the March Fee Application has not passed yet.

                8. K&E has advised and represented the Debtors in connection with the
operation of their businesses and other matters arising in the performance of their duties as a

debtors-in-possession during the period covered by the Twenty-Eighth Quarerly Fee
Application. Furhermore, K&E has prepared various pleadings, motions and other papers

submitted to this Cour for consideration, has appeared before this Cour during hearings


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 regarding these cases and has performed various other professional services that are described in

 the Applications.

 Previous Quarterly Fee AVJ)lications

                9. K&E has previously fied the following Quarerly Fee Applications:

                a. First Quarerly Interim Verified Application of Kirkland & Ells for
                       Compensation for Services and Reimbursement of Expenses as
                       Banptcy Counsel for W. R. Grace & Co., et aI., for the Interim Period
                       from April 2, 2001 through June 30, 2001, filed August 2, 2001, (the
                       "First Quarterly Fee Application");

                b. Second Quarerly Interim Verified Application of Kirkland & Ells for
                       Compensation for Services and Reimbursement of Expenses as
                       Banptcy Counsel for W. R. Grace & Co., et aI., for the Interim Period
                       from July 1,2001 through September 30, 2001, filed November 7, 2001,
                       (the "Second Quarerly Fee Application");
                c. Third Quarerly Interim Verified Application of Kirkland & Ells for
                       Compensation for Services and Reimbursement of Expenses as
                      Banptcy Counsel for W. R. Grace & Co., et aI., for the Interim Period
                      from October 1,2001 through December 31, 2001, fied Februar 7, 2002,
                      (the "Third Quarerly Fee Application ");

                d. Four Quarerly Interim Verified Application of Kirkland & Ells for
                      Compensàtion for Services and Reimbursement of Expenses as
                      Banptcy Counsel for W. R. Grace & Co., et aI., for the Interim Period
                      from January 1, 2002 through March 31, 2002, fied June 10, 2002
                      (the "Fourh Quarterly Fee Application");

                e. Fifth Quarerly Interim Verified Application of Kirkland & Ellis for
                      Compensation for Services and Reimbursement of Expenses as
                      Banptcy Counsel for W.R. Grace & Co., et aI., for the Interim Period
                      from April 1, 2002 through June 30, 2002, filed September 30, 2002
                      (the "Fifth Quarerly Fee Application");

                f. Sixth Quarerly Interim Verified Application of Kirkland & Ells for
                      Compensation for Services and Reimbursement of Expenses as
                      Banptcy Counsel for W.R. Grace & Co., et aI., for the Interim Period
                      from July 1,2002 through September 30, 2002, fied November 27,2002
                      (the "Sixth Quarerly Fee Application");




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                    g. Seventh Quarerly Interim Verified Application of Kirkland & Ells for
                               Compensation for Services and Reimbursement of Expenses as
                               Banptcy Counsel for W.R. Grace & Co., et aI., for the Interim Period
                               from October 1, 2002 though December 31, 2002, fied March 4,2003
                               (the "Seventh Quarerly Fee Application");
                    h. Eighth Quarerly Interim Verified Application of Kirkland & Ells for
                               Compensation for Services and Reimbursement of Expenses as
                               Banptcy Counsel for W.R. Grace & Co., et aI., for the Interim Period
                               from January 1, 2003 through March 31, 2003, filed May 15, 2003
                               (the "Eighth Quarterly Fee Application");
                    1. Ninth Quarerly Interim Verified Application of Kirkland & Ells LLP for
                               Compensation for Services and Reimbursement of Expenses as
                               Banuptcy Counsel for W.R. Grace & Co., et aI., for the Interim Period
                               from April 1, 2003 through June 30, 2003, fied August 27, 2003
                               (the "Ninth Quarterly Fee Application");

                    J. Tenth Quarerly Interim Verified Application of                    Kirkland & Ells LLP for
                               Compensation for Services and Reimbursement of Expenses as
                               Banptcy Counsel for W.R. Grace & Co., et aI., for the Interim Period
                               from July 1,2003 through September 30,2003, filed November 18,2003
                               (the "Tenth Quarerly Fee Application");
                    k. Eleventh Quarerly Interim Verified Application of Kirkland & Ells LLP
                               for Compensation for Services and Reimbursement of Expenses as
                               Banptcy Counsel for W.R. Grace & Co., et aI., for the Interim Period
                               from October 1, 2003 through December 31, 2003, fied Februar 11,
                               2004 (the "Eleventh Quarterly Fee Application");

                    1. Twelfth Quarerly Interim Verified Application of Kirkland & Ells LLP
                               for Compensation for Services and Reimbursement of Expenses as
                               Banptcy Counsel for W.R. Grace & Co., et aI., for the Interim Period
                               from January 1, 2004 through March 31, 2004, filed May 17, 2004
                               (the "Twelfth Quarerly Fee Application");
                    m. Thirteenth Quarterly Interim Verified Application of Kirkland & Ells
                          LLP for Compensation for Services and Reimbursement of Expenses as
                               Banptcy Counsel for W.R. Grace & Co., et aI., for the Interim Period
                               from April 1, 2004 through June 30, 2004, filed October 6, 2004
                               (the "Thirteenth Quarerly Fee Application");
                    n. Foureenth Quarerly Interim Verified Application of Kirkland & Ells
                              LLP for Compensation for Services and Reimbursement of Expenses as
                              Banptcy Counsel for W.R. Grace & Co., et aI., for the Interim Period
                              from July 1, 2004 through September 30, 2004, filed November 17, 2004
                              (the "Fourteenth Quarerly Fee Application");

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                    o. Fifteenth Quarerly Interim Verified Application of Kirkland & Ellis LLP
                           for Compensation for Services and Reimbursement of Expenses as
                           Banptcy Counsel for W.R. Grace & Co., et aI., for the Interim Period
                           from October 1, 2004 through December 31, 2004, fied
                           February 14, 2005 (the "Fifteenth Quarerly Fee Application");

                    p. Sixteenth Quarerly Interim Verified Application of Kirkland & Ells LLP
                           for Compensation for Services and Reimbursement of Expenses as
                           Banptcy Counsel for W.R. Grace & Co., et aI., for the Interi Period
                           from January 1, 2005 though March 31, 2005, filed June 15,2005
                           (the "Sixteenth Quarerly Fee Application");

                    q. Seventeenth Quarterly Interim Verified Application of Kirkland & Ells
                          LLP for Compensation for Services and Reimbursement of Expenses as
                          Banptcy Counsel for W.R. Grace & Co., et aI., for the Interi Period
                          from April i, 2005 through June 30, 2005, fied August 8, 2005
                          (the "Seventeenth Quarterly Fee Application");
                    r. Eighteenth Quarerly Interim Verified Application of Kirkland & Ellis
                          LLP for Compensation for Services and Reimbursement of Expenses as
                          Banuptcy Counsel for W.R. Grace & Co., et aI., for the Interim Period
                          from July 1, 2005 through September 30, 2005, filed October 28,2005
                          (the "Eighteenth Quarerly Fee Application");
                    s. Nineteenth Quarerly Interim Verified Application of Kirkland & Ells
                          LLP for Compensation for Services and Reimbursement of Expenses as
                          Banptcy Counsel for W.R. Grace & Co., et aI., for the Interim Period
                          from October 1, 2005 through December 31, 2005, fied
                          Februar 14,2006 (the "Nineteenth Quarterly Fee Application");

                    1. Twentieth Quarerly Interim Verified Application of Kirkland & Ells LLP
                          for Compensation for Services and Reimbursement of Expenses as
                          Banptcy Counsel for W.R. Grace & Co., et aI., for the Interim Period
                          from January 1, 2006 through March 31, 2006, fied May 15,2006
                          (the "Twentieth Quarerly Fee Application");
                    u. Twenty-First Quarerly Interim Verified Application of Kirkland & Ellis
                          LLP for Compensation for Services and Reimbursement of Expenses as
                          Banptcy Counsel for W.R. Grace & Co., et aI., for the Interim Period
                          from April 1, 2006 though June 30, 2006, fied August 14,2006
                          (the "Twenty-First Quarerly Fee Application");




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                v. Twenty-Second Quarterly Interim Verified Application of Kirkland &
                           Ells LLP for Compensation for Services and Reimbursement of Expenses
                           as Banptcy Counsel for W.R. Grace & Co., et aI., for the Interim
                           Period from July 1, 2006 through September 30, 2006, fied
                           November 14,2006 (the "Twenty-Second Quarterly Fee Application");

                w. Twenty-Third Quarerly Interim Verified Application of Kirkland & Ells
                     LLP for Compensation for Services and Reimbursement of Expenses as
                           Banptcy Counsel for W.R. Grace & Co., et aI., for the Interim Period
                           from October 1, 2006 through December 31, 2006, fied
                           Februar 14,2007 (the "Twenty-Third Quarerly Fee Application");

                x. Twenty-Fourh Quarerly Interim Verified Application of                        Kirkland & Ells
                           LLP for Compensation for Services and Reimbursement of Expenses as
                           Banptcy Counsel for W.R. Grace & Co., et aI., for the Interim Period
                           from Januar 1, 2007 through March 31, 2007, filed May 15,2007 (the
                           "Twenty-Four Quarerly Fee Application");

                y. Twenty-Fifth Quarerly Interim Verified Application of Kirkland & Ells
                           LLP for Compensation for Services and Reimbursement of Expenses as
                           Banptcy Counsel for W.R. Grace & Co., et aI., for the Interim Period
                           from April 1, 2007 through June 30, 2007, filed August 14, 2007 (the
                           "Twenty-Fifth Quarerly Fee Application");

                z. Twenty-Sixth Quarerly Interim Verified Application of Kikland & Ellis
                           LLP for Compensation for Services and Reimbursement of Expenses as
                           Banptcy Counsel for W.R. Grace & Co., et aI., for the Interim Period
                           from July 1,2007 through September 30, 2007, filed November 14, 2007
                           (the "Twenty-Sixth Quarerly Fee Application"); and
                aa. Twenty-Seventh Quarerly Interim Verified Application of Kirkland &
                      Ells LLP for Compensation for Services and Reimbursement of Expenses
                      as Banptcy Counsel for W.R. Grace & Co., et aI., for the Interim
                           Period from October 1, 2007 through December 31, 2007, filed
                           Februar 14, 2008 (the "Twenty-Seventh Quarerly Fee Application")
                           (collectively, the First through Twenty-Seventh Quarerly Fee
                           Applications are the "Quarerly Applications").

                10. There have been no objections fied with respect to the Quarterly

Applications. The hearing for the Quarerly Application for the interim period October 1, 2007


through December 31, 2007, has been scheduled for June 23, 2008. The hearing for the

Quarerly Application for the interim period Januar 1,2008 through March 31,2008, has been

scheduled for September 29, 2008. The Debtors have fied certificates of no objection with

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respect to each of the three monthy Fee Applications related to each of the above-listed

Quarerly Applications and have paid, or will pay, in each case, 100% of the compensation

requested for fees and reimbursed 100% of the expenses requested in the First through

Twenty-Seventh Quarerly Fee Applications (less certain fees and expenses disallowed by the

Court). The First, Second, Third and Fifth Quarerly Fee Applications were heard on

November 25,2002, and orders were entered on November 29,2002, granting interim

compensation and reimbursement for the First, Second, Third and Fifth Quarerly Fee

Applications. The Fourh Quarerly Fee Application was heard on August 26, 2002, and an order

was entered on October 9, 2002, granting interim compensation and reimbursement of expenses

requested in the Fourh Quarerly Fee Application. An order was entered on March 14,2003,

granting interim compensation and reimbursement of expenses requested in the Sixth Quarerly

Fee Application. The Seventh Quarerly Fee Application was heard on June 17, 2003, and an

order was entered on July 28,2003, granting interim compensation and reimbursement of

expenses requested in the Seventh Quarerly Fee Application. The Eighth Quarerly Fee

Application was heard on September 22,2003, and an order was entered on September 22,2003,

granting interim compensation and reimbursement of expenses requested in the Eighth Quarerly

Fee Application. The Ninth Quarerly Fee Application was heard on December 15,2003, and an

order was entered on December 15,20032, granting interim compensation and reimbursement of

expenses requested in the Ninth Quarerly Fee Application. The Tenth Quarerly Fee
Application was heard on March 22, 2004, and an order was entered on April 26, 2004 granting

interim compensation and reimbursement of expenses requested in the Tenth Quarerly Fee



2     An amended order correcting certain information on the Exhibit was entered on December 19,2003.




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Application. An order was entered on June 16, 2004, granting interim compensation and


reimbursement of expenses requested in The Eleventh Quarerly Fee Application. The Twelfth

Quarterly Fee Application was heard on September 27, 2004, and an order was entered on
September 27,2004 granting interim compensation and reimbursement of expenses requested in

the Twelfth Quarerly Fee Application. The Thirteenth Quaerly Fee Application was heard on

December 20, 2004, and an order was entered on January 26, 2005 granting interim

compensation and reimbursement of expenses requested in the Thirteenth Quarerly Fee

Application. The Fourteenth Quarerly Fee Application was heard on March 21, 2005, and an


order was entered on March 22, 2005 granting interim compensation and reimbursement of

expenses requested in the Foureenth Quarerly Fee Application. The Fifteenth Quarerly Fee

Application was heard on June 27, 2005, and an order was entered on June 29, 2005 granting


interim compensation and reimbursement of expenses requested in the Fifteenth Quarerly Fee

Application. The Sixteenth Quarerly Fee Application was heard on September 26, 2005, and an


order was entered on September 26, 2005 granting interim compensation and reimbursement of

expenses requested in the Sixteenth Quarerly Fee Application. The Seventeenth Quarerly Fee

Application was heard on December 19, 2005, and an order was entered on December 19,2005,

granting interim compensation and reimbursement of expenses requested in the Seventeenth

Quarerly Fee Application. The Eighteenth Quarerly Fee Application was heard on March 27,

2006, and an order was entered on March 27, 2006, granting interim compensation and

reimbursement of expenses requested in the Eighteenth Quarerly Fee Application. An order was

entered on June 16, 2006, granting interim compensation and reimbursement of expenses

requested in the Nineteenth Quarerly Fee Application. The Twentieth Quarerly Fee
Application was heard on September 25,2006, and an order was entered on September 25,2006,



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granting interim compensation and reimbursement of expenses requested in the Twentieth

Quarerly Fee Application. The Twenty-First Quarterly Fee Application was heard on December

18, 2006, and an order was entered on December 18, 2006, granting interim compensation and

reimbursement of expenses requested in the Twenty-First Quarerly Fee Application. An order

was entered on March 30, 2007, and an amended order was entered on May 3, 2007, granting

interim compensation and reimbursement of expenses requested in the Twenty-Second Quarterly

Fee Application. An order was entered on June 20, 2007, granting interim compensation and

reimbursement of expenses requested in the Twenty-Thrd Quarerly Fee Application. The

Twenty-Fourh Quarerly Fee Application was heard on September 24,2007, and an order was

entered on September 24, 2007, granting interim compensation and reimbursement of expenses

requested in the Twenty-Four Quarterly Fee Application. An order was entered on
December 13, 2007, granting interim compensation and reimbursement of expenses requested in

the Twenty-Fifth Quarerly Fee Application. An order was entered on March 12,2008, granting

interim compensation and reimbursement of expenses requested in the Twenty-Sixth Quarerly

Fee Application.

Reauested Relief

                11. By this Twenty-Eighth Quarerly Fee Application, K&E requests that the


Cour approve the interim allowance of compensation for professional services rendered and the

reimbursement of actual and necessary expenses incured by K&E for the Fee Period as detailed

in the Applications, less any amounts previously paid to K&E pursuant to the Applications and

the procedures set forth in the Amended Interim Compensation Order. As stated above, the full

scope of services provided and the related expenses incured are fully described in the
Applications, which are attached hereto as Exhbits A through C.



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 Disinterestedness

                     12. As disclosed in the following affdavits:

                    a. Affidavit of James H.M. Sprayregen in Support of Application for Order
                           Under 11 US.C. § 327(a) and Fed. R. Ban. P. 2014(a) Authorizing the
                           Employment and Retention of Kirkland & Ells as Attorneys for the
                           Debtors and Debtors in Possession (the "Original Affdavit"), filed April
                           2,2001;
                    b. First Supplemental Affdavit of James H.M. Sprayregen Under 11 U.S.C.
                           § 327(a) and Fed. R. Ban. P. 2014 (the "First Supplement"), fied April
                           17,2001;

                    c. Second Supplemental Affidavit of James H.M. Sprayregen Under 11
                           U.S.C. § 327(a) and Fed. R. Ban. P. 2014 (the "Second Supplement"),
                           filed May 2, 2001;

                    d. Third Supplemental Affdavit of James H.M. Sprayregen Under 11 U.S.C.
                           § 327(a) and Fed. R. Ban. P. 2014 (the "Third Supplement"), filed July
                           24,2001;
                    e. Fourh Supplemental Affidavit of James H.M. Sprayregen Under 11
                           US.C. § 327(a) and Fed. R. Ban. P. 2014 (the "Fourh Supplement"),
                           fied September 13,2001;

                    f. Fifth Supplemental Affidavit of James H.M. Sprayregen Under 11 US.C.
                           § 327(a) and Fed. R. Ban. P. 2014 (the "Fifth Supplement"), filed
                           October 24,2001;

                    g. Sixth Supplemental Affdavit of James H.M. Sprayregen under 11 US.C.
                           § 327(a) and Fed. R. Ban. P. 2014 (the "Sixth Supplement"), fied
                           November 13,2001;

                    h. Seventh Supplemental Affidavit of James H.M. Sprayregen Under 11
                           U.S.C. § 327(a) and Fed. R. Ban. P. 2014 (the "Seventh Supplement"),
                           fied April 11, 2002;


                    i. Eighth Supplemental Affdavit of James H.M. Sprayregen Under 11
                           US.C. § 327(a) and Fed R. Ban. P. 2014 (the "Eighth Supplement"),
                           filed May 23,2002;

                    J. Ninth Supplemental Affdavit of James H.M. Sprayregen Under 11 US.C.
                           § 327(a) and Fed R. Ban. P. 2014 (the "Ninth Supplement"), fied July
                           19,2002;




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                k. Tenth Supplemental Affidavit of James H.M. Sprayregen Under 11 U.S.C.
                      Section 327(a) and Fed. R. Ban. P. 2014 (the "Tenth Supplement"), fied
                      September 18, 2002;

                1. Eleventh Supplemental Affidavit of James H.M. Sprayregen Under 11
                      U.S.c. Section 327(a) and Fed. R. Ban. P. 2014 (the "Eleventh
                      Supplement"), filed March 11,2003;

                m. Twelfth Supplemental Affidavit of James H.M. Sprayregen Under 11
                      U.S.C Section 327(a) and Fed. R. Ban. P. 2014 (the "Twelfth
                      Supplement"), fied September 20, 2004;

                n. Amendment to the Twelfth Supplemental Affidavit of James H.M.
                     Sprayregen Under 11 U.S.C Section 327(a) and Fed. R. Ban. P. 2014
                      (the "Amended Twelfth Supplement") (collectively, the Original Affdavit
                      and the First through Amended Twelfth Supplements are the
                      "Affidavits"), fied December 2, 2004;

                o. Thirteenth Supplemental Affdavit of James H.M. Sprayregen Under II
                      U.S.C Section 327(a) and Fed. R. Ban. P. 2014 (the "Thirteenth
                      Supplement"), fied Februar 10,2005;

                p. Foureenth Supplemental Affidavit of James H.M. Sprayregen Under 11
                      U.S.C Section 327(a) and Fed. R. Ban. P. 2014 (the "Foureenth
                      Supplement"), filed June 14,2005;

                q. Fifteenth Supplemental Affdavit of James H.M. Sprayregen Under
                      11 U.S.C. Section 327(a) and Fed. R. Ban. P. 2014 (the "Fifteenth
                      Supplement"), fied December 12,2005;

                r. Sixteenth Supplemental Affidavit of James H.M. Sprayregen Under
                      11 U.S.C. Section 327(a) and Fed. R. Ban. P. 2014 (the "Sixteenth
                      Supplement"), fied March 20, 2006;

                s. Seventeenth Supplemental Affidavit of James H.M. Sprayregen Under
                      11 U.S.C. Section 327(a) and Fed. R. Ban. P. 2014 (the "Seventeenth
                                             17, 2006;
                      Supplement"), filed April



                t. Eighteenth Supplemental Affidavit of James H.M. Sprayregen Under
                      11 U.S.C. Section 327(a) and Fed. R. Ban. P. 2014 (the "Eighteenth
                      Supplemental"), fied May 22, 2006;

                u. Nineteenth Supplemental Affidavit of James H.M. Sprayregen Under
                      11 U.S.C. Section 327(a) and Fed. R. Ban. P. 2014 (the "Nineteenth
                      Supplemental"), fied June 23, 2006;




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                       v. Twentieth Supplemental Affidavit of Richard M. Cieri Dnder 11 D.S.C.
                              Section 327(a) and Fed. R. Ban. P. 2014 (the "Twentieth
                              Supplemental"), fied October 23, 2006.


                       w. Twenty-First Supplemental Affdavit of Theodore L. Freedman Under
                              11 D.S.C. Section 327(a) and Fed. R. Ban. P. 2014 (the "Twenty-First
                              Supplemental"), filed April 9, 2007.

                       x. Twenty-Second Supplemental Affdavit of Theodore L. Freedman Under
                              11 U.S.C. Section 327(a) and Fed. R. Ban. P. 2014 (the "Twenty-Second
                             Supplemental"), filed November 1,2007.

                       y. Twenty-Third Supplemental Affidavit of Theodore L. Freedman Under
                             11 D.S.C. Section 327(a) and Fed. R. Ban. P. 2014 (the "Twenty-Third
                             Supplemental") (collectively, the Original Affidavit and the First through
                             Twenty-Third Supplements are the "Affidavits"), filed May 14,2008.

 K&E does not hold or represent any interest adverse to the estates, and has been, at all relevant

 times, a disinterested person as that term is defined in section 101 (14) of the Banptcy Code as

 modified by section 11 07 (b) of the Banptcy Code.

                       13. K&E may have in the past represented, may curently represent, and likely

in the futue will represent paries-in-interest in connection with matters unrelated to the Debtors

and the Chapter 11 Cases. K&E disclosed in the Mfidavits its connections to paries-in-interest

that it has been able to ascertain using its reasonable efforts. K&E wil update the Affidavits

when necessary and when K&E becomes aware of material new information.

                                           REPRESENTATIONS
                      14. K&E believes that the Twenty-Eighth Quarerly Fee Application complies

with the requirements of       De1.Bank.LR 2016-2 and the Amended Interim Compensation Order.

                      15. K&E performed the services for which it is seeking compensation on
behalf of or for the Debtors and their estates, and not on behalf of any committee, creditor or

other person.




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                 16. Durng the Fee Period, K&E has received no payment and no promises for

payment from any source for services rendered or to be rendered in any capacity whatsoever in

 connection with these Chapter 11 Cases other than the interim compensation payments pursuant

to the Amended Interim Compensation Order.

                17. Pursuant to Fed. R. Ban. P. 2016(b), K&E has not shared, nor has agreed


to share, (a) any compensation it has received or may receive with another pary or person other

than with the parners, counsel and associates of K&E, or (b) any compensation another person

or pary has received or may receive in connection with the Chapter 11 Cases.

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                WHEREFORE, K&E respectfuly requests that the Court enter an order providing

  that (a) for the Fee Period, Januar 1, 2008, through March 31, 2008, an administrative


  allowance be made to K&E in the sum of (i) $7,263,172.00 as compensation for reasonable and

 necessar professional services rendered to the Debtors and (ii) $4,742,857.17 for reimbursement

 of actual and necessary costs and expenses incured, for a total of $12,006,029.17; (b) the


 Debtors be authorized and directed to pay to K&E the outstanding amount of such sums less any

 sus previously paid to K&E pursuant to the Applications and the procedures set forth in the

 Amended Interim Compensation Order and (c) ths Court grt such fuer relief as is equitable

 and just.




 Wilmington, Delaware                   RespectfuIIy submitted,
 Dated: May 15, 2008

                                        KIRAND & ELLIS LLP



                                                    er
                                                 . Bernick, P.C.
                                        200 East Randolph Drive
                                        Chicago, llinois 60601
                                        (312) 861-2000




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                                    IN THE UNTED STATES BANKRUPTCY COURT
                                         FOR THE DISTRICT OF DELAWARE

 In re:                                                                    ) Chapter 11
                                                                           )
 W. R. GRACE                & CO., etaL.,1                                 ) Case No. 01-01139 (JK)
                                                                           ) (Jointly Administered)
                                                                           )
                                        Debtors.                           )
                                                                           )

                                                              VERIFICATION
 STATE OF ILLINOIS                                        )
                                                          )          ss.
 COUNTY OF COOK                                           )



              Janet S. Baer, after being duly sworn according to law, deposes and says:

                           i. I am a parner with the applicant law firm Kirkland & Ells LLP ("K&E"),

 and have been admitted to the Bar of                     the Supreme Cour of         Ilinois since 1982.


                           2. I have personally performed many of the legal services rendered by K&E

as counsel to the above-captioned debtors and debtors in possession (the "Debtors"), and I am

familar with the other work performed on behalf of the Debtors by the. lawyers and

paraprofessionals of K&E.




      The Debtors consist of the following 62 entities: W. R. Grace & Co. (£'aGrace Specialty Chemicals, Inc.), W. R. Grace & Co.Conn., A-I
Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon, Inc., CB Biomedical, Inc. (£'a Circe Biomedical, Inc.), CCHP,
Inc., Coalgrace, Inc., Coalgrace ii, Inc., Creative Food 'N Fun Company, Darex Puerto Rico, Inc., Del Taco Restaurants, Inc., Dewey and Almy,
LLC (£'a Dewey and Almy Company), Ecarg, Inc., Five Alewife Boston Ltd., G C Limited Parers I, Inc. (£'a Grace Cocoa Limited Parers
I, Inc.), G C Management, Inc. (£'a Grace Cocoa Management, Inc.), GEe Management Corporation, GN Holdings, Inc., GPC Thomasvile
Corp., Gloucester New Communities Company, Inc., Grace A-B Inc., Grace A-B II Inc., Grace Chemical Company of Cuba, Grace Culinar
Systems, Inc., Grace Driling Company, Grace Energy Corporation, Grace Environmental, Inc., Grace Europe, Inc., Grace H-G Inc., Grace H-G
II Inc., Grace Hotel Services Corporation, Grace International Holdings, Inc. (£'a Dearborn International Holdings, Inc.), Grace Offshore
Company, Grace PAR Corporation, Grace Petroleum Libya Incorporated, Grace Taron Investors, Inc., Grace Ventures Corp., Grace
Washington, Inc., W. R. Grace Capita Corporation, W. R. Grace Land Corporation, Gracoal, Inc., Gracoal II, Inc., Guanica-Caribe Land
Development Corpration, Hanover Square Corporation, Homco International, Inc., Kootenai Development Company, L B Realty, Inc.,
Litigation Management, Inc. (£'a OHSC Holding, Inc., Grace JVH, Inc., Asbestos Management, Inc.), Monolith Enterprises, Incorporated,
Monroe Street, Inc., MR Holdings Corp. (£'a Nestor-BNA Holdings Corporation), MR Intermedco, Inc. (flkla Nestor-BNA, Inc.), MR
Staffing Systems, Inc. (£'a British Nursing Association, Inc.), Remedium Group, Inc. (£'a Environmental Liability Management, Inc., E&C
Liquidating Corp., Emerson & Cuming, Inc.), Southern Oil, Resin & Fiberglass, Inc., Water Street Corporation, Axial Basin Ranch Company,
CC Parers (£'a Cross Counti Staffng), Hayden-Gulch West Coal Corrany, H-G Coal Company.




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                          3. I have reviewed the foregoing Application, and the facts set fort therein


 are tre and correct to the best of my knowledge, information and belief. Moreover, I have

 reviewed the Local Banlptcy Rules for the Distrct of Delaware and submit that the
 Applicaon substantially complies with such Q"i~



 SWORN AND SUBSCRIBED
                  May, 2008
before me this 15th day of
                                                                       "OFFICIAL SEAL'~
                                                                         Stephanie G. Jord
                                                                     Not Public, Sta of ßJinois
  ~ Ii!l W/j ~)¡d fJA/
Not Public
                                                                     My CoiÎO Ex Jii 23, 20
My Commission Expires:




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